Case 1:21-cv-02769 Document 1-9 Filed 10/18/21 Page 1 of 3




                EXHIBIT 8
             Case 1:21-cv-02769 Document 1-9 Filed 10/18/21 Page 2 of 3



                                The Attorney General
                                       Washington, D.C.

                                          May8, 2019


The President
The White House
Washington, D.C. 20500

Dear Mr. President:

        I am writing to request that you make protective assertion of executive privilege with
respect to Department of Justice documents recently subpoenaed by the Committee on the
Judiciary of the House of Representatives. In cases like this where a committee has declined to
grant sufficient time to conducta full review, the President may makea protective assertion of
privilege to protect the interests of the Executive Branch pendinga final determination about
whetherto assert privilege. See Protective Assertion ofExecutive Privilege Regarding White
House Counsel's Office Documents, 20 Op. O.L.C. 1 (1996) (opinion of Attorney General Janet
Reno). The Committee has demandedthat I produce the “complete and unredacted version”of
the report submitted to me on March 22, 2019, by Special Counsel Robert S. Mueller, III,
regarding his investigation of Russian interference in the 2016 presidential election. The
Committee also seeks “[a]ll documents referenced in the Report”and “[a]ll documents obtained
and investigative materials created by the Special Counsel’s Office.” The Committee therefore
demandsall of the Special Counsel’s investigative files, which consist of millions of pages of
classified and unclassified documents bearing upon more than two dozen criminal cases and
investigations, manyof which are ongoing. These materials include law enforcement
information, information about sensitive intelligence sources and methods, and grand-jury
information that the Department is prohibited from disclosing by law.

        Consistent with paragraph 5 of President Reagan’s 1982 memorandum aboutassertions
of executive privilege, the Department requested that the Chairman of the Committee hold the
subpoena in abeyance and delay any vote recommendingthat the House of Representatives
approvea resolution finding me in contempt of Congress for failing to comply with the
subpoena, pendinga final presidential decision on whether to invoke executive privilege. See
Memorandum for the Heads of Executive Departments and Agencies, Re: Procedures Governing
Responses to Congressional Requests for Informationat 2 (Nov. 4, 1982). The Department
made this request because, although the subpoenaed materials assuredly include categories of
information within the scope of executiveprivilege, the Committee’s abrupt resort to a contempt
vote—notwithstanding ongoing negotiations about appropriate accommodations—hasnot
allowed sufficient time for you to consider fully whether to make a conclusiveassertion of
executive privilege. The Chairman, however, has indicated that he intends to proceed with the
markup session scheduledat 10 a.m. today on a resolution recommending a finding of contempt
against meforfailing to produce the requested materials.
             Case 1:21-cv-02769 Document 1-9 Filed 10/18/21 Page 3 of 3



           In these circumstances, you mayproperly assert executive privilege with respectto the
  entirety of the Department of Justice materials that the Committee has demanded, pending final
_ decision on the matter. As with President Clinton’s assertion in 1996, you would be making only
  a preliminary, protective assertion of executive privilege designed to ensure yourability to make
  a final assertion, if necessary, over someorall of the subpoenaed materials. See Protective
  Assertion ofExecutive Privilege, 20 Op. O.L.C. at 1. As the Attorney General and head ofthe
  Departmentof Justice, I hereby respectfully request that you do so.

                                              Sincerely,



                                              William P. Barr
                                              Attorney General
